     Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.30 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

CHAD PRINCE,

                       Plaintiff,                      Case No. 1:19-cv-270
v.                                                     Honorable Gordon J. Quist
VAN BUREN COUNTY JAIL,

                       Defendant.
____________________________/

                                             OPINION

               This is a civil rights action brought by a pretrial detainee under 42 U.S.C. § 1983.

Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the

Court is required to dismiss any prisoner action brought under federal law if the complaint is

frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks monetary

relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C.

§ 1997e(c). The Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner,

404 U.S. 519, 520 (1972), and accept Plaintiff’s allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these

standards, the Court will dismiss Plaintiff’s complaint for failure to state a claim.

                                             Discussion

               I.      Factual allegations

               Plaintiff Chad Prince is presently detained at the Metropolitan Correctional Center

in Chicago, Illinois. However, the events about which he complains occurred while he was
  Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.31 Page 2 of 6



detained at the Van Buren County Jail in Paw Paw, Michigan. Plaintiff sues the Van Buren County

Jail.

               Plaintiff alleges that he suffered two seizures while detained at the Van Buren

County Jail, and a nurse at the jail put him on anti-seizure medication and a bottom-bunk

restriction. For three days, he was forced to sleep on the floor in the booking department at the

jail. After that, he was moved to the general population unit and was told by jail officials to sleep

on a top bunk because there was no bottom bunk available for him. He pushed the emergency

button in his cell to tell jail officials that he had been placed on a bottom-bunk restriction for

medical reasons. An officer told him that the emergency button was for emergencies only and that

only top bunks were available.

               While sleeping on the top bunk, he had a seizure and fell onto the floor, resulting

in a head concussion, head wounds, and severe back and body pain.

               As relief, Plaintiff seeks damages for treatment of future pain, and an order

requiring the Van Buren County Jail to “enforce better policies of housing inmates with medical

needs to avoid future inc[i]dents that could easily be avoided.” (Compl., ECF No. 1, PageID.5.)

               II.     Failure to state a claim

               A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include

more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough



                                                  2
  Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.32 Page 3 of 6



facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

679. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—that the pleader is entitled to relief.” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (holding that the

Twombly/Iqbal plausibility standard applies to dismissals of prisoner cases on initial review under

28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

                To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed

by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating

federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                Plaintiff does not state a claim against the Van Buren County Jail because the jail

is a building; it is not a person or entity capable of being sued.

                Assuming Plaintiff meant to sue Van Buren County, he does not state a claim for

other reasons. A municipality like Van Buren County may only be liable under § 1983 when its

policy or custom causes the injury, regardless of the form of relief sought by the plaintiff. Los



                                                   3
 Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.33 Page 4 of 6



Angeles Cty. v. Humphries, 562 U.S. 29, 35-37 (2010) (citing Monell v. Dep’t of Soc. Servs., 436

U.S. 658, 694 (1974)). In a municipal liability claim, the finding of a policy or custom is the initial

determination to be made. Doe v. Claiborne Cty., 103 F.3d 495, 509 (6th Cir. 1996). The policy

or custom must be the moving force behind the constitutional injury, and the plaintiff must identify

the policy, connect the policy to the governmental entity and show that the particular injury was

incurred because of the execution of that policy. Turner v. City of Taylor, 412 F.3d 629, 639 (6th

Cir. 2005); Alkire v. Irving, 330 F.3d 802, 815 (6th Cir. 2003); Doe, 103 F.3d at 508-509. It is the

court’s task to identify the officials or governmental bodies which speak with final policymaking

authority for the local government in a particular area or on a particular issue. McMillian v.

Monroe Cty., 520 U.S. 781, 784-85 (1997).

               In matters pertaining to the conditions of the jail and to the operation of the deputies,

the sheriff is the policymaker for the county. Mich. Comp. Laws § 51.75 (sheriff has the “charge

and custody” of the jails in his county); Mich. Comp. Laws § 51.281 (sheriff prescribes rules and

regulations for conduct of prisoners); Mich. Comp. Laws § 51.70 (sheriff may appoint deputies

and revoke appointments at any time); Kroes v. Smith, 540 F. Supp. 1295, 1298 (E.D. Mich. 1982)

(the sheriff of “a given county is the only official with direct control over the duties,

responsibilities, and methods of operation of deputy sheriffs” and thus, the sheriff “establishes the

policies and customs described in Monell”). Thus, the court looks to the allegations in Plaintiff’s

complaint to determine whether Plaintiff has alleged that the sheriff has established a policy or

custom which caused Plaintiff to be deprived of a constitutional right.

               Plaintiff’s action fails at this first step because his allegations do not identify a

policy or custom. A “policy” includes a “policy statement, ordinance, regulation, or decision




                                                  4
  Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.34 Page 5 of 6



officially adopted and promulgated” by the sheriff. Monell, 436 U.S. at 690. Plaintiff does not

allege that an official policy is the cause of his injuries.

                Plaintiff also has not identified a custom. The Sixth Circuit has explained that a

“custom”

         . . . for the purposes of Monell liability must be so permanent and well settled as to
         constitute a custom or usage with the force of law. In turn, the notion of “law”
         includes deeply embedded traditional ways of carrying out state policy. It must
         reflect a course of action deliberately chosen from among various alternatives. In
         short, a “custom” is a “legal institution” not memorialized by written law.

Claiborne Cty., 103 F.3d at 507 (citations and quotations omitted). Plaintiff does not allege any

facts indicating that his injuries resulted from a custom of ignoring the medical needs of detainees.

                Plaintiff’s only allegation which pertains to a policy or custom (and remotely so) is

his contention that the jail should “enforce better policies of housing inmates with medical needs

to avoid future inc[i]dents that could easily be avoided.” But this statement is not an allegation

that the county had a policy or custom of ignoring medical needs like his, resulting in the conduct

causing Plaintiff’s injuries. It is simply an assertion that jail staff should do more in the future to

prevent the sort of harm that he suffered. But this sort of assertion is, at best, equivalent to

contending that the jail officials were negligent in creating and enforcing appropriate policies.

However, mere negligence in failing to enforce policies or take other preventive measures is

insufficient to show § 1983 liability. Molton v. City of Cleveland, 839 F.2d 240, 246 (6th Cir.

1988).

                Accordingly, for all the foregoing reasons, Plaintiff fails to state a claim.

                                              Conclusion

                Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that the complaint will be dismissed for failure to state a claim, under 28 U.S.C.

§§ 1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c).
                                                    5
 Case 1:19-cv-00270-GJQ-PJG ECF No. 10 filed 05/10/19 PageID.35 Page 6 of 6



               The Court must next decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). For the same reasons that the Court dismisses the action, the Court discerns no

good-faith basis for an appeal. Should Plaintiff appeal this decision, the Court will assess the

$505.00 appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless

Plaintiff is barred from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g).

If he is barred, he will be required to pay the $505.00 appellate filing fee in one lump sum.

               This is a dismissal as described by 28 U.S.C. § 1915(g).

               A judgment consistent with this opinion will be entered.



Dated: May 10, 2019                                           /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




                                                  6
